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           U N I T E D S TAT E S D I S T R I C T C O U RT
       M I D D L E D I S T R I C T O F P E N N S Y L VA N I A


 William C. Toth Jr., et al.

                      Plaintiffs,
                                              Case No. 1:22-cv-00208-JPW
 v.

 Leigh M. Chapman, et al.,

                      Defendants


 BRIEF IN OPPOSITION TO THE CARTER PETITIONERS’
              MOTION TO INTERVENE
      The Carter petitioners’ motion to intervene should be denied. The Carter

petitioners are not entitled to intervene as of right because they have no “sig-

nificantly protectable” interest in ensuring that Pennsylvania conducts its con-

gressional elections in violation of the Elections Clause and 2 U.S.C.

§ 2a(c)(5). They have also failed to show that the defendants will not “ade-

quately represent” whatever interests they might have, as each of the defend-

ants has zealously defended the Supreme Court of Pennsylvania’s authority to

impose a map and alter the General Primary Calendar in the state-court pro-

ceedings. See Fed. R. Civ. P. 24(a)(2). Finally, the Carter petitioners do not
qualify for permissive intervention because they do not have a “claim or de-
fense” in this litigation. See Fed. R. Civ. P. 24(b)(1).




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I.     The Court Should Deny Intervention As Of
       Right
     Rule 24(a) sets forth the requirements for intervention as of right:

       On timely motion, the court must permit anyone to intervene
       who:
       (1) is given an unconditional right to intervene by a federal stat-
       ute; or
       (2) claims an interest relating to the property or transaction that
       is the subject of the action, and is so situated that disposing of the
       action may as a practical matter impair or impede the movant’s
       ability to protect its interest, unless existing parties adequately
       represent that interest.
Fed. R. Civ. P. 24(a) (emphasis added). The Carter petitioners do not have a

statutory right to intervene, so they must satisfy each requirement of Rule

24(a)(2).
     The Carter petitioners face two separate and independent obstacles to in-

tervention as of right. First, their “interests” in this litigation do not qualify as

“significantly protectable” interests, because there is no “protectable” legal

interest in ensuring that an election is conducted in violation of the Constitu-

tion and federal statutes. See Donaldson v. United States, 400 U.S. 517, 531

(1971) (requiring proposed intervenors under Rule 24(a)(2) to show a “signif-
icantly protectable” interest); Benjamin ex rel. Yock v. Dep’t of Public Welfare of

Pennsylvania, 701 F.3d 938, 951 (3d Cir. 2012) (same). Second, even if the

Carter petitioners had a “significantly protectable” interest, they have made
no showing that the defendants will not adequately represent those interests.




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       A.     The Carter Petitioners Have No “Significantly Protectable”
              Interest In This Litigation
    To intervene as of right under Rule 24(a)(2), the Carter petitioners must

show a “significantly protectable” interest in this litigation. See Donaldson v.

United States, 400 U.S. 517, 531 (1971) (“This interest cannot be the kind con-

templated by Rule 24(a)(2) when it speaks in general terms of ‘an interest re-

lating to the property or transaction which is the subject of the action.’ What

is obviously meant there is a significantly protectable interest.”); see also Ben-

jamin, 701 F.3d at 951. And to qualify as a “significantly protectable” interest,

the asserted interest must be “accorded some degree of legal protection.” Di-

amond v. Charles, 476 U.S. 54, 75 (1986) (O’Connor, J., concurring in part and

concurring in the judgment); see also id. (“Clearly, Donaldson’s requirement of

a ‘significantly protectable interest’ calls for a direct and concrete interest that

is accorded some degree of legal protection.”).

    The problem for the Carter petitioners is that their only “interests” in this

litigation are in subverting the Constitution of the United States—and that is

not an interest that is “accorded some degree of legal protection.” Id. The

command of the Elections Clause is clear:

       The Times, Places and Manner of holding Elections for Senators
       and Representatives, shall be prescribed in each State by the Leg-
       islature thereof; but the Congress may at any time by Law make
       or alter such Regulations.
U.S. Const. art. I, § 4, cl. 1. The state judiciary is not part of “the Legislature”

of Pennsylvania, and the General Assembly has not authorized the state judi-




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ciary to draw a congressional map. In addition, Congress has exercised its pow-

ers under the Elections Clause to specify what must happen in the event of an

impasse between the General Assembly and Governor Wolf: the state must

elect its congressional delegation at-large. See 2 U.S.C. § 2a(c)(5). Not content

to accept the outcome required by the Constitution and federal law, the Carter

petitioners have induced the Pennsylvania Supreme Court to impose the con-

gressional map that they want by judicial decree—in flagrant violation of the

Elections Clause and 2 U.S.C. § 2a(c)(5)—and they claim that this unconsti-

tutional judicial edict gives them a “significantly protectable” interest in the

outcome of this litigation.

    But the interest that the Carter petitioners are asserting is not an interest

that is accorded any degree of legal protection under the Constitution and fed-

eral law. The state judiciary is constitutionally forbidden to impose a congres-

sional map because the legislature has not authorized it to do so. See U.S.

Const. art. I, § 4, cl. 1. See Arizona State Legislature v. Arizona Independent Re-

districting Commission, 576 U.S. 787 (2015). The Carter petitioners’ “interest”

in defending the Pennsylvania Supreme Court’s lawless and unconstitutional

edict is not an interest protected by law—even though the Carter petitioners

will undoubtedly be affected if the implementation of their preferred congres-

sional map is enjoined. No one has a “significantly protectable” interest in

subverting the rules for redistricting established in the Elections Clause and

federal law.




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    The Carter petitioners try to downplay the lawlessness of their actions by

claiming that their state-court lawsuit was needed to prevent an unconstitu-

tional map from being used for the 2022 congressional elections. See Br. in

Support of Mot. to Intervene, ECF No. 15, at 8 (“When it became clear that

Pennsylvania’s redistricting process was headed for an impasse, the Carter Pe-

titioners promptly filed a petition in Commonwealth Court seeking to replace

the unconstitutional existing map with a new congressional district map that

is both equally apportioned and fair.”). That is a misrepresentation of the law.

The “existing map” that was used for the 2020 congressional elections would

never have been used for the 2022 election cycle, because 2 U.S.C. § 2a(c)(5)

will require at-large elections if the state fails to redistrict itself “in the manner

provided by the law.” 2 U.S.C. § 2a(c). So the Carter petitioners’ lawsuit was

not seeking to replace the defunct 2020 congressional map with a court-drawn

map. It was seeking to supplant the congressionally mandated fallback regime

in 2 U.S.C. § 2a(c)(5) with a map of their own creation—and to transfer the

Pennsylvania legislature’s map-drawing authority to their attorneys and a

Democratic-controlled court. The Constitution does not tolerate behavior of

this sort, and the Carter petitioners’ desire to defend their ill-gotten gains is

not an “interest” that is “significantly protectable.” No one has a “signifi-

cantly protectable” interest in subverting the Constitution and usurping au-

thority that the Elections Clause vests exclusively with “the Legislature” of

Pennsylvania.




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    The Carter petitioners also claim that their state-court lawsuit was needed

to prevent a violation of 2 U.S.C. § 2c, which says, in pertinent part:

      In each State entitled in the Ninety-first Congress or in any sub-
      sequent Congress thereafter to more than one Representative un-
      der an apportionment made pursuant to the provisions of section
      2a(a) of this title, there shall be established by law a number of
      districts equal to the number of Representatives to which such
      State is so entitled, and Representatives shall be elected only from
      districts so established, no district to elect more than one Repre-
      sentative.
2 U.S.C. § 2c. The problem with this argument is that the Elections Clause

prohibits the state judiciary from drawing a map unless “the Legislature” has
authorized it to do so, and nothing in Pennsylvania law allows the state judici-

ary to draw a map in the event of an impasse between the legislature and the

governor. The Carter petitioners cannot excuse their constitutional violation
on the ground that it was necessary to prevent a supposed statutory violation.

The petitioners’ lawsuit also does nothing to prevent a violation of 2 U.S.C.

§ 2c, because the court-imposed map violates the Elections Clause and there-

fore is not “established by law.” The state judiciary was required to wait for

the General Assembly to enact a new congressional map, and if the General

Assembly fails to act then the state must conduct at-large elections as required

by 2 U.S.C. § 2a(c)(5). The Carter petitioners therefore lack a “significantly

protectable” interest in this case, because the interests they assert are not pro-
tected by law.




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      B.     The Carter Petitioners Have Failed To Show That The
             Defendants Will Fail To Adequately Protect Their
             “Interests” In This Litigation
    The Carter petitioners have also failed to demonstrate that the defendants

will not “adequately represent” their interests in this litigation. Fed. R. Civ. P.

24(a)(2). The defendants in this case include the state’s governor and election

officials. See Complaint, ECF No. 1, at 8–10. And a presumption of adequate

representation attaches when the defendants include government officers, as

the government is charged with representing the interest of its citizenry. See
Commonwealth of Pennsylvania v. Rizzo, 530 F.2d 501, 505 (3d Cir. 1976) (“[A]

presumption of adequate representation generally arises when the representa-

tive is a governmental body or officer charged by law with representing the
interests of the absentee.”).

    The Carter petitioners have neither acknowledged nor rebutted this pre-

sumption. Instead, the Carter petitioners want to pretend as though their bur-

den of demonstrating inadequate representation is “minimal.” Br. in Support

of Mot. to Intervene, ECF No. 15, at 12 (quoting Dev. Fin. Corp. v. Alpha Hous.

& Health Care, Inc., 54 F.3d 156, 162 (3d Cir. 1995)). But the law of this circuit

makes clear that the burden of showing inadequate representation is much

more substantial when a would-be intervenor alleges that a government officer

or agency is an inadequate representative of its interests. See Rizzo, 530 F.2d at

505 (“Where official policies and practices are challenged, it seems unlikely

that anyone could be better situated to defend than the governmental depart-

ment involved and its officers.”); Delaware Valley Citizens’ Council for Clean



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Air v. Commonwealth of Pennsylvania, 674 F.2d 970, 973 (3d Cir. 1982) (“When

a state is a party to a suit involving a matter of sovereign interest, it is presumed

to represent the interests of its citizens”); Brody v. Spang, 957 F.2d 1108, 1123

(3d Cir. 1992) (“There is a presumption that if one party is a government en-

tity charged by law with representing the interests of the applicant for inter-

vention, then this representation will be adequate.”); Benjamin, 701 F.3d at 958

(“There is a general presumption that a government entity is an adequate rep-

resentative.”).

    To overcome this presumption, the Carter petitioners must show one of

the following: (1) The existence of “collusion” between the plaintiffs and de-

fendants; (2) That the defendants represent an interest “adverse” to the Car-

ter petitioners; or (3) That the defendants have been less than “diligent” in

prosecuting the litigation. See Delaware Valley Citizens’ Council, 674 F.2d at

973 (“Representation is generally considered adequate if no collusion is shown

between the representative and an opposing party, if the representative does

not represent an interest adverse to the proposed intervenor and if the repre-

sentative has been diligent in prosecuting the litigation.”). The Carter peti-

tioners do not even allege (let alone show) that any of these three criteria has

been met.

    There is obviously no “collusion” between the plaintiffs and defendants.

The defendants did not even raise an Elections Clause or 2 U.S.C. § 2a(c) de-

fense in the state-court proceedings, and they never challenged the state su-

preme court’s authority to impose a congressional map or rewrite the General


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Primary Calendar despite the constitutional issues that were implicated by

those actions. See Exhibits 1–2. Each of the three defendants asked the Su-

preme Court of Pennsylvania to alter the General Primary Calendar, and Gov-

ernor Wolf went so far as to propose a map for the state supreme court to

adopt. See id. And although the state supreme court adopted the map proposed

by the Carter petitioners rather than the map proposed by Governor Wolf, it

is unfathomable to think that the governor (or the remaining defendants) will

turn around and deny the state supreme court’s authority to impose a map or

alter the election calendar when they affirmatively invited the court to take

those actions in the state-court proceedings. There is no doubt that the de-

fendants will vigorously defend the state supreme court’s prerogative to act as

it did—which is the only issue in this proceeding—even if they may have quib-

bles with the manner in which the state supreme court exercised this supposed

authority.

    The Carter petitioners observe that the district court in Corman v. Torres,

287 F. Supp. 3d 558 (M.D. Pa. 2018), allowed individual voters to intervene in

an Elections Clause challenge to a court-imposed congressional map. See Br.

in Support of Mot. to Intervene, ECF No. 15, at 14–15. But the order in Cor-

man contains no reasoning or analysis; it simply grants intervention to 18 indi-

vidual voters without explaining how the requirements of Rule 24 had been

satisfied. See Exhibit 3. Indeed, the Court’s order does not even state whether

it was granting intervention as of right or permissive intervention. Equally no-

table is that the district court in Corman denied intervention to the League of


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Committee, although here too the order gives no indication of the Court’s rea-

sons for doing so. See id. The mere fact that the district court in Corman al-

lowed some individual voters to intervene is meaningless, as a district-court

decision has no precedential value—even when explained in a reasoned opin-

ion. See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (“A decision of a fed-

eral district court judge is not binding precedent in either a different judicial

district, the same judicial district, or even upon the same judge in a different

case.” (citation and internal quotation marks omitted)).1 A district-court ruling

may be followed as precedent only when there are persuasive reasons for doing

so, and the Corman ruling on intervention provides no reasons at all. Neither

do the Carter petitioners, who provide no reason to doubt the defendants’ zeal
in defending the state supreme court’s actions.

II.     The Court Should Deny Permissive Intervention
      The Carter petitioners also seek permissive intervention under Rule 24(b).

See See Br. in Support of Mot. to Intervene, ECF No. 15, at 15–16. But the




1. See In re Exec. Office of the President, 215 F.3d 20, 24 (D.C. Cir. 2000) (“Dis-
   trict court decisions do not establish the law of the circuit, . . . nor, indeed,
   do they even establish ‘the law of the district.’” (citations omitted)); Van
   Straaten v. Shell Oil Products Co. LLC, 678 F.3d 486, 490 (7th Cir. 2012)
   (Easterbrook, J.) (“[D]ecisions of district courts are not authoritative even
   within the rendering district. They cannot ‘settle’ any proposition.”); Reid
   v. BCBSM, Inc., 787 F.3d 892, 895 n.2 (8th Cir. 2015) (noting that district
   court rulings “cannot be used as stare decisis”).


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Carter petitioners make no effort to explain how they have “a claim or de-

fense” in this litigation, as required by Rule 24(b)(1)(B).

    Rule 24(b)(1) sets forth the requirements for permissive intervention:

      On timely motion, the court may permit anyone to intervene
      who:
      (A) is given a conditional right to intervene by a federal statute;
      or
      (B) has a claim or defense that shares with the main action a com-
      mon question of law or fact.
Fed. R. Civ. P. 24(b)(1) (emphasis added). The Carter petitioners do not have

a statutory right to intervene, so they must satisfy Rule 24(b)(1)(B).

    Yet the Carter petitioners never identify the “claim or defense” that they
“have.” The Carter petitioners obviously have no “claim” because they are

not suing any of the litigants. And the Carter petitioners have no “defense”

because they will not be required to do anything—nor will they be restrained
from doing anything—by the relief that the plaintiffs are seeking against the

named defendants. See Caleb Nelson, Intervention, 106 Va. L. Rev. 271, 274

(2020) (“[A] ‘defense’ is a particular type of legal argument that the targets of
a claim assert to explain why the court should not grant relief against them.”);

Amchem Products, Inc. v. Windsor, 521 U.S. 591, 623 n.18 (1997) (“The words

‘claims or defenses’ . . . in the context of Rule 24(b)(2) governing permissive
intervention—manifestly refer to the kinds of claims or defenses that can be

raised in courts of law as part of an actual or impending law suit.” (citation and

internal quotation marks omitted)). The Carter petitioners do not “have” a



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claim or defense against any of the litigants, so they have no grounds for per-

missive intervention.

                                     ***

    The Carter petitioners’ interests in this litigation can be fully accommo-

dated by filing an amicus curiae brief; they do not warrant intervention as a

party with the right to take discovery and participate in the trial proceedings.

Allowing the Carter petitioners to intervene when there is no reason to doubt

the zealous advocacy of the defendants will serve no purpose other than to

create opportunities for duplicative discovery and court filings that will delay
the resolution of this case.

                               CONCLUSION
    The motion to intervene should be denied.

                                        Respectfully submitted.

                                         /s/ Jonathan F. Mitchell
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                     CERTIFICATE OF SERVICE
    I certify that on February 24, 2022, I filed this document through

CM/ECF, which will effectuate service on all counsel of record in this case. I

also certify that I will serve this document by e-mail upon the following coun-

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